       Case 4:19-cv-07123-PJH       Document 521      Filed 01/13/25   Page 1 of 4




 1   Greg D. Andres
     Antonio J. Perez-Marques
 2   Craig T. Cagney
     Gina Cora
 3
     Luca Marzorati
 4     (admitted pro hac vice)
     DAVIS POLK & WARDWELL LLP
 5   450 Lexington Avenue
     New York, New York 10017
 6   Telephone: (212) 450-4000
     Facsimile: (212) 701-5800
 7
     Email: greg.andres@davispolk.com
 8            antonio.perez@davispolk.com
              craig.cagney@davispolk.com
 9            gina.cora@davispolk.com
              luca.marzorati@davispolk.com
10
     Micah G. Block (SBN 270712)
11   DAVIS POLK & WARDWELL LLP
     900 Middlefield Road
12
     Redwood City, California 94063
13   Telephone: (650) 752-2000
     Facsimile: (650) 752-2111
14   Email:      micah.block@davispolk.com

15   Attorneys for Plaintiffs WhatsApp LLC and Meta
     Platforms, Inc.
16

17                               UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                      OAKLAND DIVISION

20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )             Case No. 4:19-cv-07123-PJH
21                                      )
                                        )             LOCAL RULE 79-5(F)(3) STATEMENT
                      Plaintiffs,       )             IN RESPONSE TO DEFENDANTS’
22
                                        )             FIRST ADMINISTRATIVE MOTION
23           v.                         )             TO CONSIDER WHETHER ANOTHER
                                        )             PARTY’S MATERIAL SHOULD BE
24    NSO GROUP TECHNOLOGIES LIMITED )                SEALED
      and Q CYBER TECHNOLOGIES LIMITED, )
25                                      )             Ctrm:    3
                                        )             Judge:   Hon. Phyllis J. Hamilton
26                    Defendants.       )
                                        )             Action Filed: October 29, 2019
27                                      )
                                        )
28
       Case 4:19-cv-07123-PJH          Document 521         Filed 01/13/25     Page 2 of 4




 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          Pursuant to Civil Local Rules 7-11(b) and 79-5(f)(3), Plaintiffs WhatsApp LLC and Meta

 3   Platforms, Inc. by and through their counsel, respectfully submit this Response to the First Adminis-

 4   trative Motion to Consider Whether Another Party’s Material Should Be Sealed (the “Administrative

 5   Motion”) filed by Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited

 6   (collectively, “NSO”). Dkt. No. 502. The Administrative Motion identifies certain documents filed

 7   in connection with NSO’s Motion to Exclude Certain Opinions of Dana Trexler, CPA/CFF as con-

 8   taining information designated as “Highly Confidential - Attorney’s Eyes Only” by Plaintiffs. Dkt.

 9   No. 502 at 2.

10          Plaintiffs request that the Court keep under seal the highlighted portions of Exhibit 1 and the

11   entirety of Exhibits A, B, C, D and F (the “Confidential Materials”) to the Declaration of Aaron S.

12   Craig in Support of NSO’s First and Second Administrative Motions to Seal and in Support of the

13   Motion (the “Craig Declaration”). Dkt. No. 502-1. Plaintiffs make this request pursuant to Local

14   Civil Rules 79-5(c) and (d). The Confidential Materials comprise or refer to materials that Plaintiffs

15   have designated and produced in discovery as “Highly Confidential – Attorney’s Eyes Only” pursu-

16   ant to the August 31, 2020 Stipulated Protective Order. Dkt. No. 132. The Confidential Materials

17   describe the individual compensation of several of Plaintiffs’ employees and contain other confiden-

18   tial business information related to Plaintiffs’ remuneration practices. Dkt. No. 502, Exs. 1, A, B, C,

19   D, and F.

20          The parties agree that the appropriate standard for sealing the Confidential Materials, which

21   were attached to NSO’s Daubert motion, is “good cause” and that under the “good cause” standard,

22   the relevant inquiry is “whether good cause exists to protect the information from being disclosed to

23   the public by balancing the needs for discovery against the need for confidentiality.” Wells Fargo &

24   Co. v. ABD Ins. & Fin. Servs., 2013 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013) (Hamilton, J.); Dkt.

25   No. 503 at 1. The parties also agree that “good cause” requires only “a particularized showing” that

26   sealing is appropriate, which “will suffice to seal documents produced in discovery.” Kamakana v.

27   City & Cty. of Honolulu, 447 F.3d 1172, 1180 (9th Cir. 2006); Dkt. No. 503 at 1.

28
                                                       1
     L.R. 79-5(F)(3) STATEMENT IN RESPONSE TO DEFENDANTS’ FIRST ADMIN. MOTION TO CONSIDER WHETHER ANOTHER
     PARTY’S MATERIALS SHOULD BE SEALED - CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH            Document 521         Filed 01/13/25      Page 3 of 4




 1           Plaintiffs easily meet the applicable good-cause standard here. Courts have routinely held

 2   that confidential business information and individuals’ private information satisfies the compelling

 3   reasons standard, which is far more “exacting” than the good-cause standard applicable here. Jones

 4   v. PGA Tour, Inc., 2023 WL 7440303, at *2 (N.D. Cal. May 18, 2023) (granting plaintiff’s renewed

 5   sealing motion with respect to information including “confidential business information” and “inter-

 6   nal decisionmaking processes”); Nursing Home Pension Fund v. Oracle Corp., 2007 WL 3232267,

 7   at *1 (N.D. Cal. Nov. 1, 2007) (“The Ninth Circuit has found that compelling reasons exist to keep

 8   personal information confidential to protect an individual’s privacy interest and to prevent exposure

 9   to harm or identity theft.” (citing Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1134 (9th

10   Cir. 2003))); see also In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 2015 WL

11   13653885, at *1 (S.D. Cal. Jan. 20, 2015) (permitting sealing records where the records were “subject

12   to a contractual duty of confidentiality” and where “harm could result to [the parties’] business op-

13   erations” if the information were prematurely disclosed); In re Qualcomm Litig., 2017 WL 5176922,

14   at *2 (S.D. Cal. Nov. 8, 2017) (concluding that the parties established compelling reasons to file

15   under seal records that implicate “confidential business information” subject to confidentiality agree-

16   ments); Ehret v. Uber Techs., Inc., 2015 WL 12977024, at *3 (N.D. Cal. Dec. 2, 2015) (holding that

17   names and individual earnings may be redacted under both the good cause and compelling reasons

18   standard as the information “concerns privacy interests”).

19           The Confidential Materials contain sensitive, personal information that is not available to the

20   public. Publicly disclosing the Confidential Materials would pose a risk of harm to the privacy in-

21   terests of Plaintiffs’ individual employees, whose compensation information would be publicly dis-

22   closed. Public disclosure of the Confidential Materials would also risk harm to Plaintiffs because it

23   would provide their competitors with an unfair advantage, due to the disclosure of Plaintiffs’ confi-

24   dential business information related to Plaintiffs’ renumeration practices. There is also little, if any,

25   public interest in this information, so the private interests justify sealing. The potential harm of public

26   disclosure could not be mitigated by any means less restrictive than sealing.

27

28
                                                         2
     L.R. 79-5(F)(3) STATEMENT IN RESPONSE TO DEFENDANTS’ FIRST ADMIN. MOTION TO CONSIDER WHETHER ANOTHER
     PARTY’S MATERIALS SHOULD BE SEALED - CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH          Document 521          Filed 01/13/25    Page 4 of 4




 1          For the foregoing reasons, Plaintiffs request that the Confidential Materials remain under seal.

 2   This request is narrowly tailored to only sealable material.

 3

 4    Dated: January 13, 2025                      Respectfully Submitted,

 5                                                 DAVIS POLK & WARDWELL LLP
 6
                                                   By: /s/ Gina Cora
 7                                                     Greg D. Andres
 8                                                     Antonio J. Perez-Marques
                                                       Gina Cora
 9                                                     Craig T. Cagney
                                                       Luca Marzorati
10                                                       (admitted pro hac vice)
                                                       DAVIS POLK & WARDWELL LLP
11
                                                       450 Lexington Avenue
12                                                     New York, New York 10017
                                                       Telephone: (212) 450-4000
13                                                     Facsimile: (212) 701-5800
                                                       Email: greg.andres@davispolk.com
14                                                             antonio.perez@davispolk.com
                                                               gina.cora@davispolk.com
15
                                                              craig.cagney@davispolk.com
16                                                            luca.marzorati@davispolk.com

17                                                         Micah G. Block (SBN 270712)
                                                           DAVIS POLK & WARDWELL LLP
18                                                         900 Middlefield Road
                                                           Redwood City, California 94063
19
                                                           Telephone: (650) 752-2000
20                                                         Facsimile: (650) 752-2111
                                                           Email: micah.block@davispolk.com
21
                                                           Attorneys for Plaintiffs WhatsApp LLC and
22                                                         Meta Platforms, Inc.
23

24

25

26

27

28
                                                       3
     L.R. 79-5(F)(3) STATEMENT IN RESPONSE TO DEFENDANTS’ FIRST ADMIN. MOTION TO CONSIDER WHETHER ANOTHER
     PARTY’S MATERIALS SHOULD BE SEALED - CASE NO. 4:19-CV-07123-PJH
